Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 1 of 11

FILED
13- CR- 392 cing UNITED stare Gig
September 4, 2014 3 2 DENVER COG ouRT
Naked Owner and Bailor of MIMI MICHELLE VIGIL SEP 08 2014
c/o 3578 Hartsel Dr. #E JEFFREY P. COLWELL
Colorado Springs, CO 80920 CLERK

NOTICE OF INDEMNIFICATION CONTRACT WITH UNITED STATES

To all concerned,

|, Mimi Michelle Vigil, a nonbelligerent Peaceful Inhabitant, in acceptance of offer of
indemnification pursuant to 12USC95a(2), and by special appearance in the limited
capacity of Naked Owner and Bailor, assign in good faith the reversionary interest in
MIMI MICHELLE VIGIL to and for the account of the United States, and acknowledge
12USC95b as Ratification of acts of President and Secretary of the Treasury under
§95a, and, in harmony with such, accept acquittance and discharge by the United
States of further obligation and intend to subscribe and rely on this section in any and all
present and future transactions in exercise of obligations under contract protected by
both State and Federal Constitution(s).

Evidence of the consideration for this Indemnification Contract is publicly documented
(see documents attached herewith). In fulfilment of usufructuary duties, the United
States has contracted to provide full acquittance and discharge in all matters and
release MIMI MICHELLE VIGIL from liability in any court. Please update your records
and provide any servicing procedures to ensure that all present and future claims,
charges and correspondence are all forwarded to the Attorney General and any proper
United States office for full acquittance and discharge.

As there is no dispute of the facts, and thus no controversy to be heard before the
court, would it be more prudent to contact the assignee if there is further need?

One trusts that good faith and clean hands will be had by all. Paid in full.

Encl.: Endorsed Indemnification Receipt
UCC Documentation showing assignment of reversionary interest

cc:
Barack Obama, POTUS

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 2 of 11

September 4, 2014

Naked Owner and Bailor of MIMI MICHELLE VIGIL
cio 3578 Hartsel Dr. #E
Colorado Springs, CO 80920

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cc:
Barack Obama, POTUS

ase No. 1:13-cr- - ocument ile olorado pg 3 of il

Jacob Lew, Secretary of the Treasury

Rosie Rios, Treasurer of the United States

Thomas J. Curry, Comptroller of the Currency

Eric H. Holder, Jr., Attorney General of the United States

John Kerry, Secretary of State

John Koskinen IRS Commissioner

Ray LaHood, Department of Transportation

Original UCC Documents Filed: State Of New Mexico Secretary Of State
State Of Colorado Treasurer's Office

State Of Colorado Attorney General

Barack Obama, President of the United States
The White House

1600 Pennsylvania Avenue NW

Washington, DC 20500

Jacob Lew, Secretary of the Treasury Registered Mail: RE 548051331 US
Department of the Treasury

1500 Pennsylvania Avenue, NW

Washington, D.C. 20220

Rosa Gumataotao Rios

Treasurer of the United States

1500 Pennsylvania Avenue, NW, Room 2134
Washington, DC 20220

Thomas J. Curry, Comptroller of the Currency
Office of the Comptroller of the Currency

400 7th Street SW, Suite 3E-218
Washington, D.C. 20219

Eric H. Holder, Jr., Attorney General of the United States
U.S. Department of Justice

950 Pennsylvania Avenue, NW

Washington, DC 20530-0001

John Kerry, Secretary of State
U.S. Department of Justice
2201 C Street NW
Washington, DC 20520

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 4of 11

IRS Commissioner John Koskinen
internal Revenue Service

1111 Constitution Avenue, NW
Washington, D.C. 20004

Ray LaHood, Secretary of Department of Transportation
1200 New Jersey Ave SE, Washington, DC 20590

COLORADO:
Colorado State Treasurer's Office Hon. Walker R. Stapleton 200 East Colfax
Avenue, State Capitol, Suite 140, Denver, CO 80203-1722

STATE OF COLORADO ATTORNEY GENERAL
John Suthers, Ralph L. Carr Colorado Judicial Center, 1300 Broadway, 10th
Floor, Denver, CO 80203

Colorado Secretary of State, Scott Gessler, 1700 Broadway, Suite 200
Denver, CO 80290

Matthew Kirsch 1225 17th Street, Suite 700, Denver, CO 80202

Judge Christine Arguello Alfred A. Arraj United States Courthouse A638
{Courtroom A602, 901 19" Street, Denver, CO 80294-3589

Jeffrey P. Colwell Clerk of Court Alfred A. Arraj U S Courthouse Room A105
901 19" Street, Denver, CO 80294-3589

UCC Documents also filed: El Paso County Clerk & Recorder 1675 Garden of the
Gods Rd., Colorado Springs, CO 80907

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg5 of 11

Dect 2014062993

peei'214 4: “26 PM Page: of of 1
$10.00 M. Toulouse Oliver, Bernalillo Coun

UCC FINANCING STATEMENT AMENDMENT it HPL liad PLAY, hh CFF al Ml

FOLLOW INSTRUCTIONS , a rn re -

A. NAME & PHONE OF CONTACT AT FILER (optional)
mimi 719.440.7530

B. E-MAIL CONTACT AT FILER (optional)

©. SEND ACKNOWLEDGMENT TO; (Name and Address) as W. WILLIAMS EL Paso County, C0
. - 22/2014 08:29:14 AM
[at sat tone Ge sega) eo MAT
950 Pennsylvania Ave, N.W. Rec $16.00 1 of 2
Washington, D.C. 20530-0001

1a. INITIAL FINANCING STATEMENT FILE NUMBER 1b. i This FINANCING STATEMENT AMENDMENT is to be filed [for record]

QNoiv¥og4 sod Fer ach Ament Adee (Fn UGCA) and rovido Dea’ name nom 13

2 TERMINATION: Effectiveness of the Financing Statemont Identified above is terminated with respect to the security Interest(s) of Secured Party authorizing this Termination
Statement

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

3. "S.[VIASSIGNMENT (ull ompestiat): Provide name of Assignee In Item 7a or 7b, and address of Assignee in item 7c and name of Assignor in item 9
For partial assignment, complete items 7 and 9 and also Indicate affected collateral in item 8

CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security Intsrest(s) of Secured Party authorizing this Continuation Statement is
continued for the additional period provided by applicable law

5. BL PARTY INFORMATION CHANGE:
Check one of these two boxes: AND Chere ine oy these three boxas to:

CHANGE name lor address: Complete Complete tiem DELETE name: Give record name
This Change affects | |Bedtor or | ]Secured Party of revond { [fiom Ga or gn tem Ya or 7 and tom fo [leer Po and tom re ™ [liebe deited in tem ea oro

6. CURRENT RECORD INFORMATION: Complete for Party information Change - provide only one name (Ga or 6b)
6a. ORGANIZATION'S NAME

MIMI M VIGIL

Sb. INDIVIDUAL’S SURNAME FIRST PERSONAL NAME

OR

ADDITIONAL NAME(S)INITIAL(S)  |SUFFIX

7. CHANGED: OR ADDED INFORMATION: Completa far Assignment or Party internat Chango ~ provide only ona name (74 or 7b) (use exsst, fil name; do not omit, modify, oF sbrevate any par ofthe Debta’s rams)
Ta, ORGANIZATION'S NAME

UNITED STATES
OR fy INDIVIDUALS SURNAME

INDIVIDUAL'S FIRST PERSONAL NAME

INDIVIDUAL'S ADDITIONAL NAME(G)ANITIAL(S)

SUFFIX
. Je. MAILING ADDRESS STATE [POSTAL CODE COUNTRY
eo U.S. Atty. Gen. 1500 Penn. Ave. N.W. ‘Washington DC | 20220 US
BW] COLLATERAL CHANGE: Also check one of these four boxes: [ Japp collateral “Tl DELETE collateral  [_] RESTATE covered coftateral Ww ASSIGN collateral
Indicate collateral:

reversionary interest assigned to and for the account of the UNITED STATES upon condition property so received be sold

and the proceeds used to reduce the py atic debt as gratitude for the extension of hospitality for the gift of safe harbor as per
120.8. Code 98a @. =

— OS

United States District Couirt fe for the s District of Colorado
-Case No:: Hr13-cr-00392-6MA-03 “7S

Se NN

9. NAME or SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (8a or 8b) (name of Assignor, if this is an Assignment)
Woes on Sevoneinert sured bys DEBTOR, ‘heck here F] and provide name of authorizing Debtor
GANIZATION'S

FIRST PERSONAL NAME ADDITIONAL NAME(S)INITIAL(S) [SUFFIX
Mimi Michelle

10. OPTIONAL FILER REFERENCE DATA:

Naebm en atin nd AoW - tat - oe. se eee ns

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 6 of 11

paces aeis ok iz mm Page: i of 3
. Toulouse Oliver. Bernalille Coun

ee
ATR Dock 2014054304
ee aI Bani di, Hi LARS TH si al

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS MAGGIE TOULOUSE: OLIVER, Géuinty Clerk ot
A. NAME & PHONE OF CONTACT AT FILER (optional) Bernalillo Courty, New Mexico, hereby certify that
mimi 719.440.7530 the foragoing is true, correct and full copy-of the
8. E-MAIL CONTACT AT FILER (optional) : instrument herewith set out as. appears on record
in my office. -
G. SEND ACKNOWLEDGMENT TO: (Name and Address) Dated this. /
MAGGIE TOULO!
|” United States Attorney General ~] Bernatitle Co
U.S. Department of Justice
950 Pennsylvania Ave, N.W. . By
Washington, D.C. 20530-0001 y
THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's nama); #f any part ef the Individual Debtor's
heme will not fit in line 1b, leave all of item 1 blank, check here LC] and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

1a. ORGANIZATIGN'S NAME
MIMI M VIGIL
ORM INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S\INITIAL(S) [SUFFIX
Tc, MAILING ADDRESS city STATE [POSTAL CODE COUNTRY
Sterling Regional MedCenter, 615 Fairhurst | Sterling CO | 80751 Us

2. DEBTOR'S NAME: Provide only one Dabtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
name will not fit in line 2b, leave all of fem 2 blank, check here oO and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Aq)

(2a, ORGANIZATIONS NAME
MIMI MICHELLE VIGIL
OR op. INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(G)ANITIAL(S) [SUFFIX
2c, MAILING ADDRESS erry STATE [POSTALCODE COUNTRY
El Paso Cnty Health Dept. 1675 Garden of thi Colorado Springs CO | 80907 Us
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only ona Secured Party name (3a cr 3b)
3a. ORGANIZATIONS NAME * :
OR Fp, INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME()INITIALS) [SUFFIX
Vigil Mim i M “Be
3c. MAILING ADDRESS city STATE [POSTAL CODE COUNTRY
c/o 3578 Hartsel Dr. #E Colorado Springs Cclarad] near [80920] | usa

4. COLLATERAL: This financing statement covers the following collateral:
All property belonging to the Debtor/Bailee belongs to the Secured Party.

All property of Secured Party is subject to claims and defenses:

1. Declaration of Independence for protection and defense of the self-evident truth, and;

2. State as administrator and usufructuary, and;

3. Quit enjoyment of property and persons remains with the Secured Party with care and maintenance provided by

usufructuary. WAYNE Wl. WILLIAMS El Paso County, ¢0
Collateral is held in trust. 08/22/2014 08:29:14 AM
Doc $0.00 Page
Rec $21.00 iof3 2314076323

5. Chack gnly if applicable and check gniy one box: Collateral is |_| held in a Trust (see UCC1Ad, Item 17 and Instructions) |_| being administered by a Decedent's Personal Representative
Ga. Check only if applicable and check only ona box: 6b. Check only # applicable and check only one box:
bal Public Finance Transaation Manufactured-Home Transaction = == Non-UCC Filing

7. ALTERNATIVE DESIGNATION (f applicable): LessaefLessor Consignee/Consignar Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 7 of 11

UCC FINANCING STATEMENT ADDENDUM

FOLLOW INSTRUCTIONS

9. NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement, if line 1b was left blank

because Individual Debtor name did not fit, check here Ol

Ga. ORGANIZATIONS NAME

MIMI M VIGIL

OR tgp INDIVIDUALS SURNAME

FIRST PERSONAL NAME

ADDITIONAL NAME(S)ANITIAL(S)

SUFFIX

THE ABOVE SPACE [S FOR FILING OFFICE USE ONLY

40. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Dabtor name that did not fit in Ins 1b or 2b of the Financing Statement (Form UCC1) (use exect, full name;

do not omit, modify, or abbraviate any part of the Debtor's name) and enter the mailing address in {Ine 100

10a, ORGANIZATION'S NAME

VIGIL BABY GIRL

ORigp. INDIVIDUALS SURNAME

INDIVIQUAL'S FIRST PERSONAL NAME

/—~TNDIVIBUALS ADDITIONAL NAME(S)INITIAL(S) SUFFIX
7c, MAILING ADDRESS city STATE [POSTAL CODE COUNTRY
Sterling Regional Medical Center, 1675 Gard) Sterling CO | 80751 Us
17.. | ADDITIONAL SECURED PARTY'S NAME or [ ] ASSIGNOR SECURED PARTY'S NAME: Provide only one name (149 or 116)
11a. ORGANIZATIONS NAME
OR fib. INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDIMGNAL NAME(S)INITIALIS) | SUFFIX
Tic, MAILING ADDRESS CITY STATE om COUNTRY

12. ADDITIONAL SPACE FOR ITEM 4 (Collateral):

Being age of majority, Secured Pary exercises claim in recoupment for pledge and grant of bailment of person and property
(credit/value of a living soul) in state of infancy accepted by and delivered to debtors/bailees as consideration for act of

bailment by Secured Party.

euccumere
13. [7] This FINANCING STATEMENT is to be filed {fer record] (or recorded) in the
REAL ESTATE RECORDS (ff applicable)

44, This FINANCING STATEMENT:
CJ covers timber to be cut [7] covers as-oxtracted coltateral [1] is fited as a fixture filing

15, Name and address of a RECORD OWNER of real estate described in fem 16
(f Debtor does not have a record Inferess}:

El Paso Cnty Health Dept. 1675 Garden of the Gods
Rd W, Colorado Springs, Colorado 80907

46. Description of real estate:

Reference Colorado State Birth Certificate Number: 1051951016691

17. MISCELLANEOUS:

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 8 of 11

UCC FINANCING STATEMENT ADDITIONAL PARTY

FOLLOW INSTRUCTIONS

48. NAME OF FIRST DEBTOR: Same as line ia or 1b on Financing Statement; if fina 1b was left blank

because Individual Debter name did not fit, check here LI

18a. ORGANIZATION'S NAME

MERIUM MICHUEL VIGIL

OR gp. INDIVIDUALS SURNAME

FIRST PERSONAL NAME

ADDITIONAL NAME(S)INITIAL(S)

SUFFIX

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

19. ADDITIONAL DEBTOR'S NAME: Provide only ena Debtor name (19a or 1b) (use exact, full name; do not omit, mesify, or abbreviate any part of the Debtor's name)

7a. ORGANIZATIONS NAME

MIMI MICHELLE VIGIL
OR gp. INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(SVINITIAL(S) [SUFFIX
Tc. MAILING ADDRESS civ STATE [POSTAL CODE COUNTRY

20. ADDITIONAL DEBTOR'S NAME: Provide only ona Debtor name (202 or 20) (use exact, full name; do not omit, modily, or abbreviate any part of the Debtor's name)

20a. ORGANIZATIONS NAME

OR 20h, INDIVIDUALS SURNAME

FIRST PERSONAL NAME

ADDITIONAL NAME(S}INITIAL(S) SUFFIX

20s. MAILING ADDRESS

CITY

STATE |POSTAL CODE COUNTRY

21. ADDITIONAL DEBTOR'S NAME: Provide only ona Debtor name (21a or 21b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)

21a. ORGANIZATIONS NAME

OR (375, INDIVIDUALS SURNAME

FIRST PERSONAL NAME

ADDITIONAL NAME(S)ANITIAL(S) SUFFIX

ic. MAILING ADDRESS

crry

STATE [POSTAL CODE GGUNTRY

cpnmendeene PEO
22.[_] ADDITIONAL SECURED PARTY'S NAME ar [|] ASSIGNOR SECURED PARTY'S NAME: Provide only one name (22a or 22b)
22a. ORGANIZATION'S NAME
OR 22b. INDIVIDUAL'S SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(S)ANITIAL(S) SUFFIX
2c. MAILING ADDRESS CITY STATE [POSTAL CODE COUNTRY

‘EPEAT STEN
23.[ | ADDITIONAL SECURED PARTY'S NAME or [} ASSIGNOR SECURED PARTY'S NAME: Provide only ene name (23a or 23b)

23a. ORGANIZATION'S NAME
OR 23b. INDIVIDUALS SURNAME FIRST PERSONAL NAME ADDITIONAL NAME(G)ANITIAL{S) SUFFIX
23c. MAILING ADDRESS city

STATE ee COUNTRY

24, MISCELLANEOUS:

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 9 of 11

14047277-1

United States of America

DEPARTMENT OF STATE
To all to whom these presents shall come, Greetings:

I Certify That the document hereunto annexed is under the Seal of the State(s) of Colorado,
and that such Seal(s) is/are entitled to full faith and credit.*

*For the contents of the annexed document,the Department assumes no responsibility
This certificate is not valid if it is removed or altered in any way whatsoever

In testimony whereof, I, John F. Kerry, Secretary of State , have
hereunto caused the seal of the Departmen: of State to be affixed and
my name subscribed by the Assistant Authentication Officer, of the
said Department, at the city of Washington, in the District of
Columbia, this sixth day of August, 2014.

Issued pursuant to CHXIV, State of

Sept. 15, 1789, 1 Stat. 68-69; 22 . Secretary of State
USC 2657; 22USC 2651a; 5 USC B

301; 28 USC 1733 et. seq.; 8 USC y Ss

1443(); RULE 44 Federal Rules of Assistant Authentication Officer,

Civil Procedure.
Department of State

Case No. 1:13-cr-00392-CMA Document 265 filed 09/08/14 USDC Colorado pg 10 of 11

DEPARTMENT OF
STATE

CERTIFICATE

I, SCOTT GESSLER, Secretary of State of the State of Colorado, do hereby certify that
RONALD S. HYMAN

is the duly appointed State Registrar of the State of Colorado.

1DO FURTHER CERTIFY that the signature affixed to the attached document appears to be
his when compared with his signature on file in this office................... catenins

eYT TT ee IN TESTIMONY WHEREOF I have unto set my hand
and affixed the Great Seal of the State of Colorado, at the
City of Denver this 11™ day of July, 2014.

wiles wa
g

SECRETARY OF STATE

TTeTeererPTerONER TONGUES

VESEPTOTTSETTT INIT TITTT

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Case No. 1:13-cr-00392-CMA Document 265 Tiled 09/08/14 USDC Colorado” pg 11 of IT

CERTIFICATE OF LIVE BIRTH

fosissioieen

NAME OF REGISTRANT
MIMI MICHELLE . .VIGIE»

\

DATI-AND TIME OF BIRTH ., .
JUNE 10, 1951 07: 00 * PM

CITY OF BIRTH
STERLING ©

MOTHER'S NAME PRIOR TO First MARRIAGE Q
AGNES MARTIN EZ oe,

MOTHER'S PLACE OF BIRTH 62 5 MOTHER'S A AGE AT TIME OF BIRTH
COLORADO Ss ee 26

FATHER'S NAME
EDWARD JOSEPH VIGIL

FATHER'S PLACE OF BIRTH FATHER'S AGE AT TIME OF BIRTH |
“COLORADO 27

DATE RECORD FILED
JUNE 23,: 1951

AMENDED

DATE ISSUED‘ NOVEMBER 14, “2013

THIS is A "TRUE CERTIFICATION OF NAME AND FACTS AS
RECORDED IN THIS OFFICE. Do not accept unless prepared on
security paper with engraved border displaying the Colorado state seal
and signatute of the Registrar. PENALTY BY LAW, Section 25-2118,

ceecrmene en eee a HNMIMININ

use or furnishes to another for deceptive use any vital statistics rected, QO0653 918 4K

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BETIALE LL.

